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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                           BILLINGS DIVISION


UNITED STATES OF AMERICA,                         CR 16-117-BLG-SPW-TJC

                    Plaintiff,
                                                  FINDINGS AND
vs.                                               RECOMMENDATION OF
                                                  U.S. MAGISTRATE JUDGE
DAVID BLAINE, JR.,

                    Defendant.




      The Defendant, by consent, appeared before me under Fed. R. Crim. P. 11

and entered a plea of guilty to Count III of the Indictment (Doc. 1), which charges

the crime of aiding and abetting in a false statement during a firearms transaction,

in violation of 18 U.S.C. §§ 2, 922(a)(6), and 924(a)(2).

      After examining the Defendant under oath, the Court determined:

      1. That the Defendant is fully competent and capable of entering an

informed and voluntary plea to the criminal offense charged against him;

      2. That the Defendant is aware of the nature of the charge against him and

the consequences of pleading guilty to the charge;




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      3. That the Defendant fully understands his pertinent constitutional rights

and the extent to which he is waiving those rights by pleading guilty to the criminal

offense charged against him; and

      4. That his plea of guilty to the criminal offense charged against him is

knowingly and voluntarily entered, and is supported by independent factual

grounds sufficient to prove each of the essential elements of the offense charged.

      Defendant had adequate time to review the Plea Agreement (Doc. 54) with

counsel. Defendant fully understands each and every provision of the agreement,

and all of the statements in the Plea Agreement are true.

      Therefore, I recommend that the Defendant be adjudged guilty of the charge

in Count III of the Indictment and that sentence be imposed.

      Objections to these Findings and Recommendation are waived unless filed

and served within fourteen (14) days after the filing of the Findings and

Recommendation. 28 U.S.C. § 636(b)(1)(B); Fed. R. Crim. P 59(b)(2).

      DATED this 18th day of April, 2017.



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                                       TIMOTHY J. CAVAN
                                       United States Magistrate Judge




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